                                          Case 5:20-cv-02155-LHK Document 175 Filed 04/07/21 Page 1 of 2




                                   1

                                   2

                                   3

                                   4                                 UNITED STATES DISTRICT COURT

                                   5                              NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7     IN RE: ZOOM VIDEO                                  Case No. 20-cv-02155-LHK (SVK)
                                         COMMUNICATIONS INC. PRIVACY
                                   8     LITIGATION
                                                                                            ORDER REGARDING JOINT
                                   9                                                        DISCOVERY STATEMENT DATED
                                                                                            MARCH 29, 2021
                                  10
                                                                                            Re: Dkt. No. 170
                                  11

                                  12
Northern District of California




                                              The Court has considered the Parties’ Joint Statement Regarding Discovery Dispute
 United States District Court




                                  13
                                       (“Statement”) filed on March 29, 2021. Dkt. 170. The Statement presents two overarching issues:
                                  14
                                       1) whether discovery should be stayed or in some way restricted pending a second amended
                                  15
                                       complaint and a challenge to that pleading; and 2) whether Zoom should provide hit counts as to
                                  16
                                       all proposed search terms as part of the Parties’ meet and confer efforts regarding production of
                                  17
                                       ESI.
                                  18
                                              The Parties’ Statement was followed by Zoom filing a Motion to Stay Discovery before
                                  19
                                       Judge Koh. Dkt. 172. Judge Koh has ruled on Zoom’s motion, denying a stay of discovery. Dkt.
                                  20
                                       174. Accordingly, discovery is not stayed in this case, and Zoom is ORDERED to immediately
                                  21
                                       resume its rolling document production without limitation.
                                  22
                                              Regarding hit counts, both Parties report on robust meet and confer efforts, yet the Parties’
                                  23
                                       respective issues are not crystalized beyond Plaintiffs wanting hit counts on all of its terms and
                                  24
                                       Zoom unwilling to provide the information. Accordingly, the Court ORDERS as follows:
                                  25
                                       Plaintiffs are to prioritize 50 of the 117 proposed terms for which Zoom will promptly provide
                                  26
                                       unique hit counts; from that point the Parties are to quickly meet and confer further regarding the
                                  27
                                       remaining 67 terms. If the Parties are unable to work out a compromise as to the provision of hit
                                  28
                                          Case 5:20-cv-02155-LHK Document 175 Filed 04/07/21 Page 2 of 2




                                   1   counts for remaining terms, the Parties may submit a further joint discovery statement. The

                                   2   statement must provide a table that: organizes the disputed terms into categories; sets forth each

                                   3   disputed term; provides a short, single sentence in support of the term; and a short, single sentence

                                   4   in opposition to the term.

                                   5          SO ORDERED.

                                   6   Dated: April 7, 2021

                                   7

                                   8
                                                                                                    SUSAN VAN KEULEN
                                   9                                                                United States Magistrate Judge
                                  10

                                  11

                                  12
Northern District of California
 United States District Court




                                  13

                                  14

                                  15

                                  16

                                  17

                                  18

                                  19

                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26

                                  27

                                  28
                                                                                         2
